        Case: 3:21-cv-00094-wmc Document #: 11 Filed: 09/30/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

QUORDALIS SANDERS,

        Plaintiff,
                                                     Case No. 21-cv-94-wmc
   v.

T. MOON, J. MUENCHOW,
K. TRENT, SGT. YORK, and
OFF. WALLS,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case without prejudice.


        /s/                                                   9/30/2021
        Peter Oppeneer, Clerk of Court                        Date
